                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Harrisonburg Division


 JOHN DOE 4, by and through his
 next friend, NELSON LOPEZ, on behalf of
 himself and all persons similarly situated,
                                                     CIVIL ACTION
        Plaintiffs,

 v.                                                  Case No.: 5:17-cv-00097-EKD

 SHENANDOAH VALLEY JUVENILE
 CENTER COMMISSION,                                  Honorable Elizabeth K. Dillon

        Defendant.

                      BRIEF IN SUPPORT OF DEFENDANT’S MOTION
                       FOR LEAVE TO FILE EXHIBITS UNDER SEAL

        Defendant Shenandoah Valley Juvenile Center Commission, by counsel, submits this

 Brief in Support of its Motion to file certain exhibits under seal pursuant to Rule 5.2(d) of the

 Federal Rules of Civil Procedure and Rule 9 of the Local Rules of the Western District of

 Virginia.

        Under the Amended Scheduling Order entered by the Court on August 22, 2018, the

 parties must file motions to exclude expert witness testimony by October 22, 2018. Defendant

 intends to file motions to exclude testimony by various experts disclosed by Plaintiff.

 Specifically, Plaintiff disclosed opinions of three experts: Dr. Andrea Weisman, Dr. Gregory

 Lewis, and Dr. Paul Diver. Defendant intends to move to exclude or limit the testimony of each

 of these experts.

        In its briefs in support of such motions, Defendant intends to rely upon and attach as

 exhibits expert reports, deposition transcripts, and other documents relied upon by Plaintiff’s

 experts and/or referred to in the depositions of such experts (collectively, the "Supporting


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 Materials"). Some of the Supporting Materials include identification information for Plaintiff

 and/or other individuals whose identities are subject to a Protective Order previously entered by

 this Court.   In addition, the Supporting Materials may contain information regarding such

 individuals’ physical and mental health, placement history, and background, as well as incidents

 involving such individuals during their placement at SVJC.

          This Court has previously recognized that the sensitive and personal nature of the

 information divulged in this case warrants the protection of permitting Plaintiffs to proceed

 anonymously (EDF Dkt. Nos. 12 and 24). In addition, the Court has previously granted motions

 by Plaintiffs and Defendant to file materials under seal to protect the identities of Plaintiffs and

 others (ECF Dkt. Nos. 30 and 43). In addition, a Protective Order is in place that limits the

 disclosure of identification information of Plaintiff and other minors to most third parties (ECK

 Dkt. No. 41). Consistent with these Orders, SVJC seeks leave to file the Supporting Materials

 with names, birthdates, and other identity information redacted.        The undersigned counsel

 attempted to confer with Plaintiff’s counsel to obtain their consent to this Motion and to a ruling

 without a hearing. As of the time of filing this Motion, however, undersigned counsel had not

 received a response to that request. The legal authority and basis for this Motion are set forth

 below.

                                       LEGAL STANDARD

          Rule 5.2 of the Federal Rules of Civil Procedure authorizes certain measures that are

 designed to protect certain privacy matters with respect to filings made with the Court. The Rule

 requires that social security numbers, birth dates, and financial account numbers be redacted, and

 that minor children be identified only by their initials. Fed. R. Civ. P. 5.2(a). Rule 5.2(d) allows

 the Court to Order that a filing be made under seal without redaction. Fed. R. Civ. P. 5.2(d).



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 Rule 9 of the General Local Rules of the Western District of Virginia outlines the procedure

 under which a party may obtain an Order under Federal Rule 5.2(d). To obtain such an Order, a

 party must file a written motion containing (1) generic, non-confidential identification of the

 document to be sealed; (2) the basis upon which the party seeks the order, including the reasons

 why alternative to sealing are inadequate; and (3) the duration for which sealing is requested.

 W.D. Va. Loc. Gen. R. 9(b)(2).

        When considering a motion to seal, a court must give the public notice of the request to

 seal and a reasonable opportunity to challenge the request. In re Knight Publ’g, 743 F.2d 231,

 235 (4th Cir. 1984); see also Mears v. Atl. Southeast Airlines, Inc., 2014 U.S. Dist. LEXIS

 142571 (E.D. N.C. 2014). The filing of a party’s motion is sufficient to provide public notice

 and an opportunity to challenge the motion to seal. In re Knight Publ’g, 743 F.2d at 235.

 Further, the court must consider alternatives to sealing, if any. Id. Finally, the court must

 identify whether any constitutional or common law rights of access are triggered and, if so,

 weigh the public’s right of access with the privacy rights at issue. Id. In this case, the privacy

 interests of Plaintiffs and other minors subject to the Protective Order outweigh the common law

 right of access.

                                          ARGUMENT

        I.    Identification of the Documents to be Sealed

        Defendant seeks to file exhibits with its Briefs in Support of Defendant’s Motions to

 Exclude Expert Testimony from which certain information has been redacted. The exhibits

 consist of expert reports, deposition transcripts, and other documents relied upon by Plaintiff’s

 experts and/or referred to in the depositions of such experts. These records include names of

 minors who were placed at SVJC, and they may also include exhibits containing photographs or



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 other types of personal information of those minors. The only information to be redacted from

 the records consists of names, birthdates, and any identifying photographs of Plaintiff or other

 minors whose identities are subject to the Court's Protective Order in this case.

        II.     These Documents are Appropriate for Sealing

        The information contained in the Supporting Materials is of a sensitive and personal

 nature. The records contain information regarding the minors’ physical and mental health, as

 well as incidents involving Plaintiff and other minors during their placement at SVJC.

        The public, on the other hand, has no interest in accessing the personal information of

 Plaintiffs and other protected minors in this lawsuit. When balancing the respective interests,

 courts have consistently held that minors’ privacy interest in information, such as the information

 reflected in the Supporting Materials, outweigh the common law right of access. See e.g., Eugene

 S. V. Horizon Blue Cross Blue Shield of N.J., 663 F.3d 1124, 1136 (10th Cir. 2011) (sealing

 exhibits because “[n]early every document in the volume at issue includes the name of, and/or

 personal and private medical information relating to, Mr. S’s minor son”).

        SVJC does not seek to seal the records in their entirety. Instead, SVJC only seeks to

 redact names, birthdates, photos, and other information that would reveal the identities of

 Plaintiff and other individuals who are subject to the Court's Protective Order. As such, SVJC’s

 request is narrowly tailored in order to comply with the Protective Order and protect applicable

 privacy interests while recognizing the public interests at issue. See In re Knight Publ’g, 743

 F.2d at 236. The relief requested is consistent with the Court’s prior Orders allowing Plaintiffs

 to proceed anonymously, allowing the parties to file similar materials under seal, and limiting the

 disclosure of identification information to third parties. The limited redaction of the Supporting




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 Materials is the least restrictive, effective alternative to disclosure and complies with the

 requirements of Rule 5.2(a).

        III.    SVJC Requests that the Exhibits Remain Sealed Indefinitely

        SVJC requests that the records remain indefinitely sealed as the need for protecting

 private, confidential information will not subside during the course of this lawsuit or with time.

 Virginia law recognizes the need to indefinitely protect minors’ court records from disclosure.

 See, e.g., Va. Code § 16.1-300 (confidentiality of social, medical, psychiatric, and psychological

 records and reports); Va. Code § 16.1-301 (confidentiality of juvenile law-enforcement records);

 Va. Code § 16.1-302(C) (general public is excluded from all juvenile court hearings); and Va.

 Code § 16.1-305 (confidentiality of juvenile court records). The privacy concerns cited by SVJC

 in support of redacting the Supporting Materials will remain indefinitely.            As such, the

 Supporting Materials should remain sealed indefinitely.

                                          CONCLUSION

        The balancing of public access against privacy interests weigh in favor of granting the

 relief requested herein.    The redaction of identification information from the Supporting

 Materials is warranted under Rule 5.2 of the Federal Rules of Civil Procedure and by the nature

 of the sensitive information contained in the records. SVJC’s request is narrowly tailored as the

 limited redaction of identification information is the least restrictive measure available to protect

 privacy interests.

        For these reasons, Defendant Shenandoah Valley Juvenile Center Commission

 respectfully requests that the Court grant its Consent Motion to File Exhibits Under Seal.

                                                     Respectfully submitted,
                                               SHENANDOAH VALLEY JUVENILE
                                                    CENTER COMMISSION
                                                          By Counsel


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                                         CERTIFICATE

         I certify that on the 19th day of October, 2018, I electronically filed the forgoing

 document with the Clerk of the Court using the CM/ECF system, which will send notification of

 such filing to:


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